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                     UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 RETAILER WEB SERVICES, LLC,                         )
 EVOLUTION VERTICAL LLC, and AYR1,                   )
 INC.,                                               )
                Plaintiffs,                          )
                                                     )
        v.                                           ) Case No.: 3:16-cv-00156-B
                                                     ) Judge: Hon. Jane J. Boyle
 TAILBASE, INC.,                                     )
                                                     )
                       Defendant.                    )
                                                     )
                                                     )

         PLAINTIFFS’ FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)
             NOTICE OF VOLUNTARY DISMISSAL OF COMPLAINT

       Plaintiffs Retailer Web Services, LLC, AYR1, Inc. and Evolution Vertical LLC pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(i) hereby voluntarily dismiss the Complaint filed

in the above captioned proceeding with prejudice and without costs. Defendant has not answered

the Complaint or filed a motion for summary judgment. Accordingly, the Plaintiffs notify the

Court and Defendant that the Complaint has been dismissed with prejudice, and without costs.




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Dated: April 12, 2016                     Respectfully submitted,

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                                          Retail LLC




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with L.R. 5.1 on April 12, 2016. As such, this document was served on each party who
is a registered user of ECF. L.R. 5.1(d).

                                                   s/Adam Wolek
                                                   Adam Wolek




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